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                         DECLARATION of COLLEEN ANDERSON

       I, COLLEEN ANDERSON, do hereby declare:



                                BACKGROUND/EXPERIENCE

       1. I am a Special Agent of the Internal Revenue Service-Criminal Investigations (IRS-

CI) assigned to the Medford, Oregon Post of Duty, and have been so employed for 27 years. As a

Special Agent, I investigate possible violations of the Internal Revenue Code (Title 26 United

States Code), the Money Laundering Control Act (Title 18 United States Code), the Bank

Secrecy Act (Title 31 United States Code), and other criminal violations.

                                PURPOSE OF DECLARATION

         2. This declaration is submitted in support of a Complaint in rem for Forfeiture of the

following 2 properties, hereafter referred to collectively as, the “Subject Properties”:

A. Title for subject property 1 is held in the name North West Land Development Group LLC.

Subject Property 1- Property ID R327419 and R3274192: 1530 Thompson Creek Road Selma,
Oregon
Commencing at the Northwest corner of the Northeast Quarter of the Southwest Quarter of
Section 21, Township 38 South, Range 7 West of the Willamette Meridian, Josephine County,
Oregon; thence South along the West line of said Northeast Quarter of the Southwest Quarter,
270.13 feet, more or less, to the Northeasterly line of Thompson Creek Road; thence
Southeasterly along said line, 309.2 feet, more or less, to a point which bears 525 feet South
from the North line of said Northeast Quarter of the Southwest Quarter for the true point of
beginning; thence East, parallel to the North line of said Northeast Quarter of the Southwest
Quarter to the centerline of Thompson Creek; thence Southerly along said centerline to the
Northerly right of way line of said Thompson Creek Road; thence Northerly along said right of
way line to the true point of beginning. LESS AND EXCEPT all that portion lying Southerly of
the following described line; Commencing at the Southeast corner of the Northeast Quarter of
the Southwest Quarter of Section 21, Township 38 South, Range 7 West of the Willamette
Meridian, Josephine County, Oregon; thence North along the East line of said Northeast
Quarter of the Southwest Quarter, 220 feet 8 inches; thence North 65 degrees 13' 00” East to the
centerline of Thompson Creek for the true point of beginning of said line; thence South 65
degrees 13' 00” West to the Northeasterly right of way line of Thompson Creek Road for the
terminus of said line.

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B. Title for subject property 2 is held in the name Heaven on Earth Farms LLC.

Subject Property 2- Property ID R328253 and R3282532: 1100 Panther Gulch Road Williams,
Oregon
A parcel of land in the Southeast Quarter of Section 2, Township 39 South, Range 5 West of the
Willamette Meridian, Josephine County, Oregon being more particularly described as follows:

Beginning at the Southwest corner of the Southeast Quarter of the Southeast Quarter of said
Section 2; thence along the West line of said Southeast Quarter of the Southeast Quarter, North
30.00 feet to the North right of way line of Panther Gulch Road, which is the true point of
beginning; thence along said West line North 1290 feet to the Southeast 1/16 corner; thence
West 1320 feet to the center South 1/16 corner; thence North 1320.00 feet to the center Quarter
corner; thence East 2640.00 feet to the East Quarter corner; thence along the East line of said
Southeast Quarter South 1235 feet, more or less, to a point 1405.00 feet North of the Southeast
corner of said Southeast Quarter; thence parallel to the South line of said Southeast Quarter,
West 1260.00 feet, more or less, to a point 60.00 feet East of the West line of the East Half of
said Southeast Quarter; thence parallel to said West line, South 1375.00 feet to the North right
of way line of Panther Gulch Road; thence West 60.00 feet back to the true point of beginning.

       3. Based on evidence obtained in this investigation, including witness statements,

property records, financial records, text records, and drug evidence seized during the execution

of several search warrants on properties related to Jose Orozco, there is probable cause to believe

and I do believe the following:

              The Subject Properties were used and intended to be used to facilitate the illegal
               production and distribution of marijuana, in violation of Title 21, United States
               Code (U.S.C), Section 841, 846, and 856, and are therefore subject to forfeiture
               pursuant to Title 21, U.S.C., Section 881(a)(7); and

              The Subject Properties were involved in financial transactions conducted with the
               intent to conceal and promote the carrying on of illegal marijuana manufacturing
               in violation of Title 18, United States Code, section 1956, and are therefore
               subject to forfeiture pursuant to Title 18, United States Code, Section
               981(a)(1)(A).


       4. The facts set forth in this affidavit are based on the following: my own personal

knowledge; knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers; my review of records related to this

investigation including interviews of witnesses; communications with others who have
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knowledge of the events and circumstances described herein; and information gained through my

training and experience. Because this affidavit is submitted for the limited purpose of

establishing probable cause for the Complaint, it does not set forth each and every fact that I or

others have learned during the course of this investigation.

                           SUMMARY OF THE INVESTIGATION

       5. This declaration will show that Jose Orozco (Orozco) engaged in the illegal

manufacturing and possession of marijuana with intent to distribute. Further, this declaration

outlines facts that show Orozco, with the assistance of a real estate agent, concealed or disguised

the nature, location, source, ownership, or the control of his unlawful proceeds by purchasing, in

the names of several Oregon Limited Liability Companies (LLCs), additional properties with the

unlawful proceeds. The additional properties, including Subject Properties 1and 2, were then

used to further promote Orozco’s illegal manufacturing of marijuana by using the properties as

additional illegal marijuana grow sites.

JMET Investigation

       6. In June of 2021, Josephine County Sheriff’s Office Detective Cody Kephart

(Detective Kephart) with the Josephine Marijuana Enforcement Team (JMET) began an

investigation into the unlawful manufacturing of marijuana on properties owned or controlled by

Orozco. The investigation was initiated after JMET received complaints regarding numerous

greenhouses constructed at the residences of 1530 Thompson Creek Road in Selma (Subject

Property 1) and 1100 Panther Gulch Road in Williams (Subject Property 2).

       7. During the investigation, Detective Kephart determined that Subject Property 1 was

purchased in the name of North West Land Development Group LLC, which was owned by

Orozco, and observed that it had over 100 greenhouses constructed on the property. Detective



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Kephart also determined that Subject Property 2 was purchased in the name of Heaven on Earth

Farms LLC, which was also owned by Orozco, and observed from information obtained from the

Josephine County Code Enforcement that it had approximately 82 greenhouses constructed on

the property. Detective Kephart then contacted the Oregon Medical Marijuana Program

(O.M.M.P.), the Oregon Liquor Control Commission (O.L.C.C.) and the Oregon Department of

Agriculture (O.D.A.) and discovered that neither Subject Property 1, Subject Property 2, nor

Orozco were currently licensed or permitted to grow marijuana or hemp.

       8. On June 24, 2021, a search warrant was executed on Subject Property 1 for the

unlawful manufacturing, possession, and delivery of marijuana. During the warrant, officers

pulled and destroyed 86,528 marijuana plants from 104 greenhouses. A Certificate of Analysis

from Kaycha Labs showed that samples pulled from Subject Property 1 far exceeded hemp

levels 1, having a Total THC of 15.223%. Pictures of Subject Property 1 are provided below:




1
  Hemp means all non-seed parts and varieties of the Cannabis plant, whether growing or not,
that contain an average tetrahydrocannabinol concentration that does not exceed 0.3 percent on a
dry weight basis. (OAR 603-048-0010)
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       9. On July 1, 2021, a state search warrant was executed on Subject Property 2 for the

unlawful manufacturing, possession, and delivery of marijuana. During execution of that

warrant, officers pulled and destroyed another 71,996 marijuana plants. A Certificate of Analysis

from Kaycha Labs showed samples pulled from Subject Property 2 for analysis also tested above

hemp levels, having a Total THC of 0.683%. Pictures of Subject Property 2 are provided below:




Text Messages

       10. In August of 2021, a state search warrant was also executed at Orozco’s residence,

1555 NE A Street in Grants Pass, Oregon. During the warrant, officers seized one of Orozco’s

cell phones and later conducted a forensic search of the phone for pertinent communications

regarding his illegal marijuana activities. An extensive review of Orozco’s phone showed

numerous text messages between Orozco and his real estate agent Tyra Foxx (Foxx) with

RE/MAX Integrity between May of 2017 and October of 2021 pertaining to the following:



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           •   The creation and use of multiple LLCs for the purchase of numerous properties,
               including Subject Properties 1-2, in order to hide Orozco’s ownership;

           •   Making large cash payments to property owners outside of escrow to reduce the
               reported purchase price of the properties and in turn keep Orozco from having to
               make large cash deposits, which would then require financial institutions to file
               currency transaction reports (CTRs).

           •   Attempts to convert large amounts of cash into money orders that were then
               deposited into escrow, thus evading the filing of CTRs;

           •   The funneling of large amounts of cash for the purchase of properties, including
               Subject Properties 1 and 2, through a third-party real estate broker’s business
               account for wiring to escrow, thus evading the filing of CTRs; and

           •   The creation of paper debt and other “hoops” to protect Orozco’s properties from
               being seized after the execution of the search warrant by law enforcement on
               Subject Property 1, including discussions about the creation of construction liens,
               personal loans, leases, and listing papers.


Property Transactions

       11. Texts and financial records obtained during the investigation show that between

October 2020 and November of 2020, Orozco provided Foxx with $2,062,050 in cash for the

purchase of Subject Properties 1 and 2, a property at 200 Suncrest Drive in O’Brien, Oregon, and

a property at 201 Jaynes Drive in Grants Pass, Oregon 2. Upon receipt of the cash, texts and cash

receipt records show Foxx then acted as a courier and brought the large quantities of cash to

Krystal Garrison (Garrison), a principal broker at Century 21 in Grants Pass, Oregon. Bank and

title company records show Garrison deposited the cash into a client trust bank account and then

wired the funds to Ticor Title for the closing of escrow for the following properties:




2
  The government does not seek to forfeit the Suncrest and Jaynes Drive property, as they are no
longer owned by Orozco or his LLCs.
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                            FUNDS TRANSMITTED THROUGH CLIENT TRUST ACCOUNT
 Subject                Cash Deposit
Property #     Date       Amount          Date Wired Amount Wired          Property Purchased                      Buyer
                                                                            200 Suncrest Drive
   N/A       10/08/2020 $    175,000.00   10/13/2020   $    175,000.00         O'Brien, OR          West Fork Land Development Group LLC

                                                                          1530 Thompson Creek Rd
    1        10/13/2020 $    400,100.00   10/13/2020   $     400,000.00          Selma, OR          North West Land Development Group LLC

             11/03/2020 $    310,400.00
                                                                          1100 Panther Gulch Road
    2                                     11/10/2020   $   1,200,150.00                                   Heaven on Earth Farms LLC
             11/04/2020 $    339,650.00                                         Williams, OR

             11/09/2020 $    550,100.00

                                                                             201 Jaynes Drive
   N/A       11/24/2020 $    286,800.00   11/24/2020   $     286,800.00      Grants Pass, OR                     Jose Orozco



 Total Cash Deposits    $ 2,062,050.00




         12. Real estate records and text messages show Foxx and Garrison earned commissions

and bonuses for the services they provided Orozco. Texts between Orozco and Foxx also show

the services Foxx and Garrison provided Orozco were designed to conceal or disguise the nature,

location, source, ownership, or the control of Orozco’s unlawful proceeds and were structured to

evade the filing of CTRs on Orozco’s property transactions, as shown below:

         Text #1- Garrison is referred to as “She” in this message




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       Text #2- Garrison is referred to as “her” in this message




       Text #3- Garrison is referred to as one of the “Girls”, “her”, and “she” in this message




Orozco Statements

       13. During the investigation, Orozco and his attorneys agreed to meet with

agents/officers to discuss his activities in the illegal manufacturing of marijuana and the

laundering of the illegal proceeds. During the meetings on September 6, 2022, and October 06,

2022, Orozco provided the following information:


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            After first meeting Foxx in 2017, Foxx would send information to Orozco
             pertaining to different properties with water rights and acreage for growing
             marijuana. It was apparent in Orozco’s conversations with Foxx that he was
             growing marijuana and by 2020 she definitely knew it was marijuana;

            Orozco discussed with Foxx his concern that all the property that was going into
             his name would cause a red flag to law enforcement, so Foxx helped Orozco hide
             the properties by putting them into the names of various LLCs.

            Orozco gave hundreds of thousands of dollars in cash to Foxx to deposit and wire
             the funds through the broker Garrison at Century 21 for the purchase of several
             properties. Foxx told Garrison at Century 21 that Orozco was having issues with
             cash and that is how the relationship began. Orozco and Foxx used Century 21
             because they were trying to avoid banks filing currency reports on the transactions
             and they gave Garrison her percentage through a contract for running the cash
             through the Century 21 bank accounts;

            Orozco confirmed that he and Foxx moved the following amounts of cash through
             Garrison at Century 21 for the purchase of properties and to avoid the filing of
             bank currency reports:

                 $175,000 on or about 10/15/2020 for the purchase of 200 Suncrest Drive
                  in O’Brien, Oregon;
                 $400,000 on or about 10/16/2020 for the purchase of 1530 Thompson
                  Creed Road in Selma, Oregon (Subject Property 1);
                 $1,200,150 on or about 11/10/2020 for the purchase of 1100 Panther
                  Gulch Road in Williams, Oregon (Subject Property 2); and
                 $286,800 on or about 11/24/2020 for the purchase of 201 Jaynes Drive in
                  Grants Pass, Oregon.

            When the search warrant on Thompson Creek (Subject Property 1) was executed,
             Foxx brought up the idea of putting liens on the property to make it harder for law
             enforcement to take the property. Orozco also believes that when he and Foxx
             were creating a lease after the raid that Foxx knew Orozco was making up a name
             to protect the real person leasing the property.

            Because of the 1 acre limits on OLCC marijuana licenses, Orozco exclusively
             grew marijuana in 2020 and 2021 under ODA hemp licenses so that he could
             grow more than the 1 acre of marijuana. After helping Orozco purchase the
             Panther Gulch property (Subject Property 2), Foxx helped Orozco apply for an
             ODA license knowing that he was hiding his marijuana grow with a Hemp
             license.




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                                         CONCLUSION

       14. In summary, the evidence presented in this declaration shows that Jose Orozco

purchased the Subject Properties in a manner designed to conceal the true nature, with proceeds

traceable to the illegal production and distribution of marijuana, and then used the Subject

Properties once they were purchased to continue to facilitate the illegal production and

distribution of marijuana. This declaration also outlines facts that show Jose Orozco, with the

assistance of his real estate agent, used several LLCs to conceal or disguise the nature, location,

source, ownership, and control of his unlawful proceeds.

       15. Based on the foregoing, I have probable cause to believe, and I do believe, that the

Subject Properties were used to facilitate the illegal manufacture and distribution of marijuana, in

violation of Title 21, United States Code, Section 841, 846, and 856, and are therefore subject to

forfeiture pursuant to Title 21, United States code, Section 881(a)(7). I also have probable cause

to believe, and I do believe, that Orozco, with the assistance of his real estate agent Foxx,

concealed or disguised the nature, location, source, ownership, or the control of his unlawful

proceeds by purchasing the Subject Properties in the name of Oregon Limited Liability

Companies (LLCs). In addition, Orozco purchased the Subject Properties to further promote the

illegal manufacturing of marijuana. Therefore, the Subject Properties were purchased in violation

of Title 18, United States Code, section 1956, and are therefore subject to forfeiture pursuant to

Title 18, United States Code, Section 981(a)(1)(A).

       16. I have presented this declaration to Assistant United States Attorney John Brassell

and Assistant United States Attorney Katie de Villiers who have advised me that in their opinion,

the proposed complaint is supported by probable cause.




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       I declare under penalty of perjury that the foregoing is true and correct pursuant to 28

U.S.C. § 1746.



       Executed this 20th day of April 2023.


                                             s/ Colleen Anderson
                                             Colleen Anderson
                                             Special Agent
                                             IRS-CI




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